Case 16-61225-pmb         Doc 512     Filed 09/11/18 Entered 09/11/18 12:51:52                   Desc Main
                                     Document     Page 1 of 14


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                            )        CHAPTER 7
                                                     )
   NEXXLINX CORPORATION, INC.,                       )        Jointly Administered Under
   et al., 1                                         )        CASE NO. 16-61225-PMB
                                                     )
            Debtors.                                 )

                         TRUSTEE’S MOTION FOR APPROVAL OF
                           COMPROMISE AND SETTLEMENT

            Tamara Miles Ogier as Chapter 7 Trustee (“Trustee”), by and through counsel of record,

   files Trustee’s Motion for Approval of Compromise and Settlement (“Motion”) in an effort to

   obtain authorization to compromise and settle controversies between the jointly administered

   Chapter 7 Bankruptcy Estates (the “Estate”) and Summit Financial Resources, LP and Bernard,

   LLC (“the Settling Entities”) to resolve the following preference claim: Tamara Miles Ogier as

   Chapter 7 Trustee v. Summit Financial Resources, LP and Bernard, LLC, Adversary Proceeding

   No. 18-5142-pmb.

                                         I. BACKGROUND

                                                    1.

            On June 28, 2016 (the “Petition Date”), NexxLinx Corporation, Inc., Customerlinx

   of North Carolina, Inc., Microdyne Outsourcing, Inc., Nexxlinx Global, Inc., Nexxlinx of

   New York, Inc., Nexxlinx of Texas, Inc. (collectively with Nexxphase Inc., “Debtors”) filed

   their respective voluntary bankruptcy petitions under Chapter 11 of the United States




   1 All of the Debtors include Nexxlinx Corporation, Inc., Case No. 16-61225-PMB; Customerlinx of North

   Carolina, Inc., Case No. 16-61229-PMB; Microdyne Outsourcing, Inc., Case No. 16-61231-PMB;
   Nexxlinx Global, Inc., Case No. 16-61233-PMB; Nexxlinx of New York, Inc., Case No. 16-61234-PMB;
   Nexxlinx of Texas, Inc., Case No. 16-61236-PMB; Nexxphase, Inc., Case No. 16-62269-PMB.
Case 16-61225-pmb       Doc 512      Filed 09/11/18 Entered 09/11/18 12:51:52             Desc Main
                                    Document     Page 2 of 14


   Bankruptcy Code (11 U.S.C. §§ 101, et seq.). On July 14, 2016 NexxPhase, Inc. filed its

   voluntary bankruptcy petition under Chapter 11. On or about November 13, 2017 the

   Debtors’ cases were converted to cases under Chapter 7.

                                                 2.

           The Trustee was appointed as Chapter 7 Trustee on November 16, 2017.

                                                 3.

           The Settling Entities received funds from the Debtor within the 90 days prior to the

   filing of the Debtors’ bankruptcy petition.

                                                 4.

           Pursuant to 11 U.S.C. § 547, the Trustee made demand on the Settling Entities for

   turnover of the funds it received during the 90-day period prior to the Petition Date. The

   amount sought in the Complaint against Summit Financial Resources, LP and Bernard,

   LLC was $ 13,427.21.

                                                 5.

           To pursue the Estate’s claims, the Trustee filed suit against the Settling Entities,

   Adversary Proceeding No. 18-5142.       The Settling Entities disputed the Trustee’s claims

   and asserted defenses thereto.

                                                 6.

           The Trustee seeks authority to enter into and execute the Settlement Agreement

   and Mutual Release ("Settlement Agreement"), which is attached hereto and incorporated

   herein by reference as Exhibit A, and to take any other necessary steps to consummate

   the compromises set forth in the Settlement Agreement between the Estate and the

   Settling Entities.
Case 16-61225-pmb        Doc 512     Filed 09/11/18 Entered 09/11/18 12:51:52                  Desc Main
                                    Document     Page 3 of 14


                                                    7.

           The Trustee proposes to compromise the Estate's claims against the Settling

   Entities upon the terms and conditions presented in the Settlement Agreement. Pursuant

   to the Settlement Agreement, the Settling Entities propose, among other things, to settle

   the claims made against it in Adversary proceeding 18-5142-pmb by payment to the

   Trustee of the total amount of $9,000.00 to be paid in two equal payments. The first

   $4,500 payment within fifteen (15) days of Court approval of this compromise and

   settlement, and the second payment of $4,500 within forty-five (45) days of Court

   approval of this compromise and settlement.

                                     II. LEGAL STANDARDS

                                                    8.

           The standards of approving or disapproving a settlement are the factors set forth in

   Wallis v. Justice Oaks, II, Ltd. (In re Justice Oaks, II, Ltd.), 898 F2d 1544, 1549 (11 Cir.

   1990), cert. denied, 498 U.S. 959 (1990).

                                                    9.

           Justice Oaks requires that the Court consider (1) the probability of success in the

   litigation;(2) the difficulties, if any, to be encountered in the matter of collection; (3) the

   complexity of the litigation involved, and the expense, inconvenience and delay necessarily

   attending it; and (4) deference to the reasonable views of creditors.

                                                   10.

           The Trustee believes that the Settlement Agreement is in the best interests of the

   creditors. The Settlement Agreement between the Trustee and the Settling Entities results in

   the resolution of disputed claims in an expeditious and economical manner, without the need
Case 16-61225-pmb       Doc 512     Filed 09/11/18 Entered 09/11/18 12:51:52                  Desc Main
                                   Document     Page 4 of 14


   for further litigation and the attendant costs and risks. In view of the defenses asserted, and

   the uncertainty that generally accompanies all litigation, the Trustee believes that the

   Settlement Agreement with the Settling Entities should be approved by this Court.

                                                 11.

           Under the standard set forth above and for the reasons previously detailed herein, the

   Trustee believes the Court should approve this Motion.

           WHEREFORE, Trustee prays that this Honorable Court enter an order:

           1.      Approving this Motion, including the proposed compromise and settlement as set

                   out above and in the Settlement Agreement attached hereto;

           2.      Authorizing the Trustee to enter into the Settlement Agreement and all other

                   documents necessary to effectuate the compromise and settlement referenced

                   herein; and

           3.      Grant such other and further relief as this Court deems just and proper.

                                           OGIER, ROTHSCHILD & ROSENFELD, P.C.

                                           By:     /s/ Allen Rosenfeld
                                                   Allen Rosenfeld
                                                   Georgia Bar No. 614451
   P.O. Box 1547
   Decatur, GA 30031
   (404) 525-4000
   apr@orratl.com
Case 16-61225-pmb   Doc 512    Filed 09/11/18 Entered 09/11/18 12:51:52   Desc Main
                              Document     Page 5 of 14
                                 Exhibit A
Case 16-61225-pmb   Doc 512    Filed 09/11/18 Entered 09/11/18 12:51:52   Desc Main
                              Document     Page 6 of 14
Case 16-61225-pmb   Doc 512    Filed 09/11/18 Entered 09/11/18 12:51:52   Desc Main
                              Document     Page 7 of 14
Case 16-61225-pmb   Doc 512    Filed 09/11/18 Entered 09/11/18 12:51:52   Desc Main
                              Document     Page 8 of 14
Case 16-61225-pmb   Doc 512    Filed 09/11/18 Entered 09/11/18 12:51:52   Desc Main
                              Document     Page 9 of 14
Case 16-61225-pmb   Doc 512     Filed 09/11/18 Entered 09/11/18 12:51:52   Desc Main
                              Document      Page 10 of 14
Case 16-61225-pmb   Doc 512     Filed 09/11/18 Entered 09/11/18 12:51:52      Desc Main
                              Document      Page 11 of 14


           IN WITNESS WHEREOF and in agreement herewith, the Parties have executed and
   delivered this Agreement, as of the date indicated below.


                                    Summit Financial Resources, LP

   Date: ____________               By:

                                    Its: __________________________

                                    Bernard, LLC
          08-24-2018
   Date: ____________               By:

                                          CEO
                                    Its: __________________________



   Date:______________              By:
                                          TAMARA MILES OGIER in her capacity as
                                          Chapter 7 Trustee for Nexxlinx Corporation, Inc.,
                                          Case No. 16-61225-PMB; Customerlinx of North
                                          Carolina, Inc., Case No. 16-61229-PMB;
                                          Microdyne Outsourcing, Inc., Case No. 16-61231-
                                          PMB; Nexxlinx Global, Inc., Case No. 16-61233-
                                          PMB; Nexxlinx of New York, Inc., Case No. 16-
                                          61234-PMB; Nexxlinx of Texas, Inc., Case No. 16-
                                          61236-PMB; Nexxphase, Inc., Case No. 16-62269-
                                          PMB
Case 16-61225-pmb        Doc 512      Filed 09/11/18 Entered 09/11/18 12:51:52                   Desc Main
                                    Document      Page 12 of 14


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                            )        CHAPTER 7
                                                     )
   NEXXLINX CORPORATION, INC., et al., 1             )        Jointly Administered Under
                                                     )        CASE NO. 16-61225-pmb
            Debtors.                                 )

                                      NOTICE OF HEARING

          PLEASE TAKE NOTICE that Tamara Miles Ogier as Chapter 7 Trustee for the jointly
   administered bankruptcy Estates, currently administered under Nexxlinx Corporation, Inc. 16-
   61225-PMB (the “Trustee”), has filed Trustee’s Motion for Approval of Compromise and
   Settlement (“Motion”) in an effort to obtain authorization to compromise and settle controversies
   between the Chapter 7 Bankruptcy Estates (the “Estate”) and Summit Financial Resources, LP
   and Bernard, LLC (“the Settling Entities”) to resolve the following preference claim: Tamara
   Miles Ogier as Chapter 7 Trustee v. Summit Financial Resources, LP and Bernard, LLC,
   Adversary Proceeding No. 18-5142-pmb.

           Background: On June 28, 2016 (the “Petition Date”), NexxLinx Corporation, Inc.,
   Customerlinx of North Carolina, Inc., Microdyne Outsourcing, Inc., Nexxlinx Global, Inc.,
   Nexxlinx of New York, Inc., Nexxlinx of Texas, Inc. (collectively with Nexxphase Inc.,
   “Debtors”) filed their respective voluntary bankruptcy petitions under Chapter 11 of the United
   States Bankruptcy Code (11 U.S.C. §§ 101, et seq.). On July 14, 2016 NexxPhase, Inc. filed its
   voluntary bankruptcy petition under Chapter 11. On or about November 13, 2017 the Debtors’
   cases were converted to cases under Chapter 7. The Trustee was appointed as Chapter 7 Trustee
   on November 16, 2017.

            The Settling Entities received funds from the Debtor within the 90 days prior to
   the filing of the Debtor’s bankruptcy petition. Pursuant to 11 U.S.C. § 547, the Trustee
   made demand on each of the Settling Entities for turnover of the funds it received during
   the 90-day period prior to the Petition Date. The amount sought in the Complaint against
   Summit Financial Resources, LP and Bernard, LLC was $13,427.21.

          To pursue the Estate’s claims, the Trustee filed a suit against the Settling Entities.
   The Settling Entities disputed the Trustee’s claims and asserted defenses thereto.

         Settlement: The Trustee seeks authority to enter into and execute the Settlement
   Agreement and Mutual Release ("Settlement Agreement"), which is attached to the

   1
    All of the Debtors include Nexxlinx Corporation, Inc., Case No. 16-61225-PMB; Customerlinx of North
   Carolina, Inc., Case No. 16-61229-PMB; Microdyne Outsourcing, Inc., Case No. 16-61231-PMB;
   Nexxlinx Global, Inc., Case No. 16-61233-PMB; Nexxlinx of New York, Inc., Case No. 16-61234-PMB;
   Nexxlinx of Texas, Inc., Case No. 16-61236-PMB; Nexxphase, Inc., Case No. 16-62269-PMB.
Case 16-61225-pmb       Doc 512     Filed 09/11/18 Entered 09/11/18 12:51:52              Desc Main
                                  Document      Page 13 of 14


   Motion as Exhibit A, and to take any other necessary steps to consummate the
   compromises set forth in the Settlement Agreement between the Estate and the Settling
   Entities.

           The Trustee proposes to compromise the Estate's claims against the Settling
   Entities upon the terms and conditions presented in the Settlement Agreement. Pursuant
   to the Settlement Agreement the Settling Entities propose, among other things, to settle
   the claims made against it in Adversary proceeding 18-5142-pmb by payment to the
   Trustee in the amount of $9,000.00, in two payments of $4,500.00, the first within fifteen
   (15) days of Court approval of this compromise and settlement and the second payment
   of $4,500.00 is due within forty-five (45) days of Court approval of this compromise and
   settlement.

            The Trustee believes that the Settlement Agreement is in the best interests of the
   creditors. The Settlement Agreement between the Trustee and the Settling Entities
   results in the resolution of disputed claims in an expeditious and economical manner,
   without the need for further litigation and the attendant costs and risks. In view of the
   significant defenses asserted, the Trustee believes that the Settlement Agreement with the
   Settling Entities should be approved by this Court.

          PLEASE TAKE FURTHER NOTICE that a hearing will be held on the Motion on
   October 22, 2018 at 2:00 P.M. in Courtroom 1202, United States Courthouse, 75 Ted Turner
   Drive, SW, Atlanta, GA 30303.

           Your rights may be affected by the Court’s ruling on these pleadings. You should read
   these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
   case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court to
   grant the relief sought in these pleadings or if you want the court to consider your views, then you
   and/or your attorney must attend the hearing. You may also file a written response to the pleading
   with the Clerk at US Bankruptcy Court, Room 1340, 75 Ted Turner Drive, SW, Atlanta, Georgia
   30303 but you are not required to do so. If you file a written response, you must attach a certificate
   stating when, how and on whom (including addresses) you served the response. Mail or deliver
   your response so that it is received by the Clerk of the Court at least two (2) business days before
   the hearing. You must mail a copy of your response to the undersigned at the address stated below.

   Dated: September 11, 2018                      OGIER, ROTHSCHILD & ROSENFELD, P.C.

                                                  By:    /s/ Allen Rosenfeld
                                                          Allen Rosenfeld
                                                          Georgia Bar No. 614451

                                          Attorneys for Tamara Miles Ogier as Chapter 7 Trustee
   P.O. Box 1547
   Decatur, Georgia 30031
   (404) 525-4000
   apr@orratl.com
Case 16-61225-pmb       Doc 512     Filed 09/11/18 Entered 09/11/18 12:51:52             Desc Main
                                  Document      Page 14 of 14



                                CERTIFICATE OF SERVICE

            This is to certify that on September 11, 2018 a true and correct copy of the within
   and foregoing TRUSTEE’S MOTION FOR APPROVAL OF COMPROMISE AND
   SETTLEMENT and NOTICE OF HEARING was served to all parties listed below via
   first class United States Mail, postage pre-paid:

   Martin P. Ochs
   David S. Weidenbaum
   Office of the U. S. Trustee
   362 Richard Russell Federal Bldg.
   75 Ted Turner Drive, SW
   Atlanta, GA 30303

   J. Robert Williamson
   Ashley Reynolds Ray
   Scroggins & Williamson, P.C.
   One Riverside, Suite 450
   4401 Northside Parkway
   Atlanta, GA 30327

   NexxLinx Corporation, Inc.
   3565 Piedmont Road, NE
   Building 2, Suite 104
   Atlanta, GA 30305

   Sherilyn A. Olsen
   Holland & Hart
   222 South Main Street, Suite 2200
   Salt Lake City, UT 84101

   Stuart Pratt
   Robinson Bradshaw
   101 N. Tryon Street, Suite 1900
   Charlotte, NC 28246

                                         OGIER, ROTHSCHILD & ROSENFELD, P.C.

                                         By:    /s/ Allen Rosenfeld
                                                 Allen Rosenfeld
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